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                                                                                                    11
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                                                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                                                    12
                                                                  San Francisco, California 94104
                               555 California Street, Suite 550




                                                                                                    13                               CENTRAL DISTRICT OF CALIFORNIA

                                                                                                    14                                      LOS ANGELES DIVISION
                                                                                                    15

                                                                                                    16   In re:
                                                                                                                                                       Case No. 2:21-bk-13523-WB
                                                                                                    17   URBAN COMMONS, LLC,                            Chapter 7
                                                                                                    18                         Debtor.                  Adversary Case No. 2:23-ap-01228-WB
                                                                                                    19
                                                                                                                                                        MEMORANDUM OF POINTS AND
                                                                                                    20                                                  AUTHORITIES IN SUPPORT OF
                                                                                                                                                        DEFENDANT UNITED OVERSEAS
                                                                                                    21                                                  BANK LIMITED’S MOTION FOR
                                                                                                                                                        JUDGMENT ON THE PLEADINGS
                                                                                                    22
                                                                                                                                                        UNDER RULE 12(c)
                                                                                                    23   CAROLYN A. DYE, Chapter 7 Trustee,
                                                                                                                                                        DATE: December 12, 2023
                                                                                                    24            Plaintiff,                            TIME: 2:00 p.m.
                                                                                                                                                        PLACE: Courtroom 1375
                                                                                                    25   v.                                                    255 E. Temple Street
                                                                                                                                                               Los Angeles, CA 90012
                                                                                                    26
                                                                                                         UNITED OVERSEAS BANK LIMITED,
                                                                                                    27
                                                                                                                  Defendant.
                                                                                                    28
                                                                                                                                                                             MEMORANDUM IN SUPPORT
                                                                                                                                                                    CASE NO. 2:23-ap-01228-WB/CHAPTER 7
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                                                                                                     1                                           INTRODUCTION
                                                                                                     2          The Trustee’s Complaint (defined below) is devoid of any facts which might support the
                                                                                                     3
                                                                                                         fraudulent transfer claims that it has filed against United Overseas Bank (“UOB”). Indeed, if the
                                                                                                     4
                                                                                                         Trustee had undertaken even a modicum of diligence prior to filing the Complaint, it would have
                                                                                                     5
                                                                                                         learned that the transfers in question were payments on a secured loan for which the Debtor, as the
                                                                                                     6

                                                                                                     7   sole member and manager of the borrower, received complete value. The law on these points is

                                                                                                     8   incontrovertible and the facts in the record before the Court cannot be disputed. The Trustee can

                                                                                                     9   prove no set of facts that entitle it to relief. As a result, this Court should grant UOB judgment on
                                                                                                    10
                                                                                                         the pleadings under Federal Rule of Civil Procedure 12(c). UOB has, without success, tried to
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                                                                                                    11
                                                                                                         spare the Court and the estate the time and expense of litigating this matter, but counsel for the
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                                                                                                         Trustee has refused to engage in any substantive discussions. See Answer, at 2. In support of its
                                                                                                    13
                                                                                                         Motion for Judgment on the Pleadings, UOB states as follows:
                                                                                                    14

                                                                                                    15                                     FACTUAL BACKGROUND

                                                                                                    16          This case is about two payments that the Debtor made to UOB on behalf of its wholly owned
                                                                                                    17   subsidiary, Urban Commons Danbury, LLC (the “Borrower”) on or about August 29, 2018 and
                                                                                                    18
                                                                                                         November 6, 2018—both in connection with a secured loan facility.
                                                                                                    19
                                                                                                                A. The Debtor Causes the Borrower to Enter into a $10,600,000 Secured Loan
                                                                                                    20             Agreement with UOB.

                                                                                                    21          The Debtor was a real estate investment firm that managed a large portfolio of entities

                                                                                                    22   operating in the hospitality space. The Debtor formed and managed single-purpose entities that
                                                                                                    23
                                                                                                         directly owned 100% of a hotel property. Once formed, the Debtor solicited capital from
                                                                                                    24
                                                                                                         investors by offering securities in the single-purpose entities. See Answer, at 2. On July 7, 2015,
                                                                                                    25
                                                                                                         the Debtor authorized and directed the Borrower, as the Borrower’s sole member and manager, to
                                                                                                    26
                                                                                                         enter into a secured loan transaction to borrow $10,600,000 from UOB. See Answer, Exhibit 1.
                                                                                                    27

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                                                                                                                                                                                   MEMORANDUM IN SUPPORT
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                                                                                                     1   The secured loan transaction (the “Loan Transaction”) included several transaction documents
                                                                                                     2   and agreements (together, the “Loan Documents”), including, but not limited to, the following:
                                                                                                     3
                                                                                                                1. Open-End Mortgage, Security Agreement and Fixture Filing with Assignment of Rents
                                                                                                     4
                                                                                                                    and Leases, attached to the Answer as Exhibit 2;
                                                                                                     5
                                                                                                                2. Term Loan Agreement (the “Loan Agreement”), attached to the Answer as Exhibit 3;
                                                                                                     6

                                                                                                     7          3. Security Agreement, attached to the Answer as Exhibit 4;

                                                                                                     8          4. Promissory Note Secured by Mortgage, attached to the Answer as Exhibit 5;

                                                                                                     9          5. Unanimous Written Consent of the Sole Member and Manager of Urban Commons
                                                                                                    10
                                                                                                                    Danbury, LLC;
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                                                                                                    11
                                                                                                                6. The June 25, 2018 executed extended maturity date letter (the “June 25, 2018 Extended
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                               555 California Street, Suite 550




                                                                                                    12
                                                                                                                    Maturity Date Letter”), attached to the Answer as Exhibit 6; and
                                                                                                    13
                                                                                                                7. The Personal Guarantees signed by Taylor R. Woods and Howard Chorng Jeng Wu,
                                                                                                    14

                                                                                                    15              attached to the Answer as Exhibit 7.

                                                                                                    16   Pursuant to the Loan Transaction, UOB loaned the Borrower $10,600,000 secured by an all-assets
                                                                                                    17   lien and a mortgage on the property at 18 Old Ridgebury Road, Danbury, Connecticut 06810 (the
                                                                                                    18
                                                                                                         “Property”). See the Loan Agreement at 1; UCC Financing Statement, attached to the Answer as
                                                                                                    19
                                                                                                         Exhibit 8. The Loan Transaction was originally to mature on July 7, 2018 (the “Maturity Date”).
                                                                                                    20
                                                                                                                B. The Borrower Defaults and UOB Conditionally Extends the Maturity Date.
                                                                                                    21
                                                                                                                At the request of the Borrower, on June 25, 2018, UOB granted the Borrower a Maturity
                                                                                                    22

                                                                                                    23   Date extension through January 9, 2019 (the “Extended Maturity Date”). As of the original

                                                                                                    24   Maturity Date, the Borrower owed UOB an estimated $9,835,713.70 in principal alone. See June

                                                                                                    25   25, 2018 Extended Maturity Date Letter. UOB required the Borrower to satisfy certain conditions
                                                                                                    26   in exchange for extending the Maturity Date, including requiring the Borrower to maintain a loan-
                                                                                                    27
                                                                                                         to-value ratio under 55% and to adhere to all other terms of the Loan Documents. Id. at 4, 6. The
                                                                                                    28

                                                                                                                                                                                 MEMORANDUM IN SUPPORT
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                                                                                                     1   Loan Agreement required the Borrower to maintain a Furniture Fixtures and Equipment Reserve
                                                                                                     2   (the “FF&E Reserve”) equal to 4% of the gross revenues of the Property for each calendar quarter.
                                                                                                     3
                                                                                                         See the Loan Agreement at 26-27.
                                                                                                     4
                                                                                                                The Borrower did not comply with the extension requirements in the June 25, 2018
                                                                                                     5
                                                                                                         Extended Maturity Date Letter. As of the August 29, 2018 Alleged Transfer, the FF&E Reserve
                                                                                                     6

                                                                                                     7   Requirements remained unmet, and the Borrower requested UOB apply the $369,008.72 August

                                                                                                     8   29, 2018 Alleged Transfer to the FF&E Reserve, and UOB did so. See August 29, 2018 letter from

                                                                                                     9   Danny NG Ee Hung to Eddy LAW Kam Hung and related Wire Detail Reports, attached to the
                                                                                                    10
                                                                                                         Answer as Exhibit 9. At or about the time the Borrower obtained new financing to repay UOB, the
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                                                                                                    11
                                                                                                         principal of the Debtor asked UOB to apply the balance of the FF&E Reserve account to the
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                               555 California Street, Suite 550




                                                                                                    12
                                                                                                         principal amounts of the loan, pursuant to the terms of the Loan Agreement. See December email
                                                                                                    13
                                                                                                         exchange between Taylor Woods and UOB and related Beneficiary Statement, attached to the
                                                                                                    14

                                                                                                    15   Answer as Exhibit 11; the Loan Agreement at 15, 26-27.

                                                                                                    16          As of October 5, 2018, the Borrower was in breach of the required loan-to-value ratio. On
                                                                                                    17   October 5, 2018, UOB sent a letter to the Borrower demanding payment. See October 5, 2018 letter
                                                                                                    18
                                                                                                         to the Borrower, attached to the Answer as Exhibit 12. On November 6, 2018, UOB received a
                                                                                                    19
                                                                                                         payment of $600,000 with the note “Principal Repayment Urban Commons Danbury.” See Wire
                                                                                                    20
                                                                                                         Detail Report, attached to the Answer as Exhibit 13. UOB applied the amounts to the outstanding
                                                                                                    21

                                                                                                    22   principal, as directed. See Nov. 13, 2018 letter to the Borrower, attached to the Answer as Exhibit

                                                                                                    23   10. Despite the application of this payment, the borrower remained in default. Id. On January 3,

                                                                                                    24   2019 the remainder of the Borrower’s loan balance was paid off. See Mortgage Release, attached
                                                                                                    25   to the Answer as Exhibit 15.
                                                                                                    26

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                                                                                                                                                                                  MEMORANDUM IN SUPPORT
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                                                                                                     1          C. The Trustee’s Complaint.
                                                                                                     2          On June 18, 2023, the Trustee filed its Complaint for (1) Avoidance and Recovery of
                                                                                                     3   Fraudulent Transfers, (2) Preservation of Fraudulent Transfers, and (3) Disallowance of Claims
                                                                                                     4
                                                                                                         (the “Complaint”) initiating this adversary proceeding.
                                                                                                     5
                                                                                                                The Complaint makes one factual statement: the Debtor allegedly made two transfers to
                                                                                                     6
                                                                                                         UOB in the four years leading up to the Debtor’s bankruptcy case in a total aggregate amount of
                                                                                                     7

                                                                                                     8   $989,008.72 (the “Alleged Transfers”). See Complaint, at 4. The Trustee attaches two bank

                                                                                                     9   statements that appear to evidence the Alleged Transfers. See Complaint, Exhibit 1. The first of

                                                                                                    10   the Alleged Transfers occurred on August 29, 2018 in the amount of $369,008.72. Id. The second
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                                                                                                    11
                                                                                                         of the Alleged Transfers occurred on November 6, 2018 in the amount of $600,000. Id.
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                                                                                                    12
                                                                                                                The remainder of the Complaint’s nine pages contain various statements made upon
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                                                                                                         “information and belief” and assertions based on constructive fraudulent transfer under California
                                                                                                    14
                                                                                                         law. See Complaint, at 5-6.
                                                                                                    15

                                                                                                    16          The Complaint alleges no facts that establish the transfers violate any law, fraudulent

                                                                                                    17   transfer or otherwise. Indeed, it cannot. As demonstrated by UOB’s Answer and attached exhibits,
                                                                                                    18   if the Trustee had investigated the facts, the Trustee would have discovered that those facts do not
                                                                                                    19
                                                                                                         and could not ever support a constructive fraudulent claim.
                                                                                                    20
                                                                                                                                               LEGAL STANDARD
                                                                                                    21
                                                                                                                There is no need for discovery or any further delay adjudicating the counts in the Complaint.
                                                                                                    22

                                                                                                    23   The facts and the law strongly support a judgement in favor of UOB now. “After the pleadings are

                                                                                                    24   closed—but early enough not to delay trial—a party may move for judgment on the pleadings.” In

                                                                                                    25   re Downs, Case No. 8:16-bk-12589-SC, Adv. No. 8:18-ap-01168-SC, 2020 WL 7483142, at *4
                                                                                                    26   (Bankr. C.D. Cal. Nov. 17, 2020) (quoting Fed. R. Civ. P. 12(c)). “[J]udgment on the pleadings is
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                                                                                                         properly granted when there is no issue of material fact in dispute, and the moving party is entitled
                                                                                                    28

                                                                                                                                                                                   MEMORANDUM IN SUPPORT
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                                                                                                     1   to judgment as a matter of law.” In re Downs, 2020 WL 7483142, at *5 (quoting Fleming v. Pickard,
                                                                                                     2   581 F.3d 922, 925 (9th Cir. 2009)). “Judgment may only be granted when the pleadings show that
                                                                                                     3
                                                                                                         it is beyond doubt that the plaintiff can prove no set of facts in support of his claim which would
                                                                                                     4
                                                                                                         entitle him to relief.” In re Downs, 2020 WL 7483142, at *4 (quoting Enron Oil Trading & Transp.
                                                                                                     5
                                                                                                         Co. v. Walbrook Ins. Co., Ltd., 132 F.3d 526, 529 (9th Cir. 1997)). “In determining whether
                                                                                                     6

                                                                                                     7   judgment on the pleadings should be entered, a [bankruptcy] court may consider the allegations

                                                                                                     8   made in the complaint and the answer, materials attached to the complaint in accordance with Rule

                                                                                                     9   10(c) of the Federal Rules of Civil Procedure. . .” In re Downs, 2020 WL 7483142, at *4; see also
                                                                                                    10
                                                                                                         Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006) (noting the same under a Rule 12(b)(6)
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                                                                                                         standard).
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                                                                                                    12
                                                                                                                                                          ARGUMENT
                                                                                                    13
                                                                                                                 A.     UOB Provided the Debtor with Reasonably Equivalent Value Because the
                                                                                                    14
                                                                                                                        Alleged Transfers Were Payments on Antecedent Debt.
                                                                                                    15
                                                                                                                 The Debtor received reasonably equivalent value for the Alleged Transfers because the
                                                                                                    16
                                                                                                         Alleged Transfers reduced the loan obligations of its wholly owned subsidiary.                This fact
                                                                                                    17
                                                                                                         necessarily rules out any potential action for constructive fraudulent transfer. Pursuant to the
                                                                                                    18

                                                                                                    19   California UFTA, a transfer is constructively fraudulent if a debtor (1) made the transfer while

                                                                                                    20   insolvent, became insolvent as a result of the transfer, or had unreasonably small assets relative to

                                                                                                    21   the transfer, and (2) received less than reasonably equivalent value. See California Civil Code §
                                                                                                    22
                                                                                                         3439.04(a)(2); California Civil Code § 3439.05.
                                                                                                    23
                                                                                                                 Section 3439.03 of the California UFTA provides that “value” is given when an “antecedent
                                                                                                    24
                                                                                                         debt” is satisfied. When the transfer to a creditor is in dollar-for-dollar satisfaction of an antecedent
                                                                                                    25
                                                                                                         debt, there can be no claim for constructive fraudulent transfer. See Cambridge Elecs. Corp. v.
                                                                                                    26

                                                                                                    27   MGA Elecs., Inc. 227 F.R.D. 313, 333-334 (Bankr. C.D. Cal. 2004) (holding that payments made

                                                                                                    28   by a debtor on a secured debt were not fraudulent because the payments were a dollar-for-dollar

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                                                                                                     1   reduction); In re Walters, 163 B.R. 575, 581 (Bankr. C.D. Cal. 1994) (“A proportionate reduction
                                                                                                     2   in rights or liability constitutes an exchange of reasonably equivalent value for fraudulent transfer
                                                                                                     3
                                                                                                         purposes under the Bankruptcy Code or California state law.”); In re Crucible Materials Corp.,
                                                                                                     4
                                                                                                         2012 WL 5360945, at *8 (D. Del. Oct. 31, 2012) (citing Atlanta Shipping Corp. v. Chem. Bank,
                                                                                                     5
                                                                                                         818 F.2d 240, 249 (2d Cir. 1987)) (stating same); see e.g., In re Fitness Holdings Intern., Inc., 714
                                                                                                     6

                                                                                                     7   F.3d 1141, 1145-46 (9th Cir. 2013) (in applying fraudulent transfer under the Bankruptcy Code,

                                                                                                     8   saying that “to the extent a transfer constitutes repayment of the debtor’s antecedent or present

                                                                                                     9   debt1, the transfer is not constructively fraudulent.”).
                                                                                                    10
                                                                                                                  The Ninth Circuit Bankruptcy Appellate Panel has upheld a bankruptcy court’s dismissal
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                                                                                                         of a fraudulent transfer action with prejudice in part because the satisfaction of an antecedent debt
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                                                                                                         was “fatally inconsistent” with California’s constructive fraudulent transfer law. In re Menjivar,
                                                                                                    13
                                                                                                         BAP No. CC-12-1608-KuBaPa, 2014 WL 308912, at *7 (9th Cir. BAP Jan. 28, 2014). In Menjivar,
                                                                                                    14

                                                                                                    15   the debtors in a chapter 13 case sued a bank, in part, for constructive fraudulent transfer under

                                                                                                    16   California’s UFTA. The debtors sought to undue a refinancing transaction entered into between
                                                                                                    17   the debtors and the bank to refinance a prior loan secured by the debtors’ principal residence. The
                                                                                                    18
                                                                                                         bank filed a motion to dismiss the claim. The bankruptcy court dismissed the claim with prejudice,
                                                                                                    19
                                                                                                         because the refinancing transaction paid off the original secured loan. In upholding the bankruptcy
                                                                                                    20
                                                                                                         court’s ruling, the Ninth Circuit Bankruptcy Appellate Panel stated that “it simply is not plausible
                                                                                                    21

                                                                                                    22   that the satisfaction of antecedent debt . . . d[oes] not constitute reasonably equivalent value.” See

                                                                                                    23   id.

                                                                                                    24

                                                                                                    25

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                                                                                                    27
                                                                                                         1
                                                                                                    28     As discussed below, there is a presumption that payment on behalf of a subsidiary benefits the debtor on a dollar-
                                                                                                         for-dollar basis.
                                                                                                                                                                                               MEMORANDUM IN SUPPORT
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                                                                                                     1           There can be no dispute based on the record that the Debtor made the Alleged Transfers as
                                                                                                     2   payments under the Loan Transaction; as such, the Alleged Transfers were payments on an
                                                                                                     3
                                                                                                         antecedent debt for which UOB provided reasonably equivalent value.
                                                                                                     4
                                                                                                                 B.      UOB Provided the Debtor with Reasonably Equivalent Value Because the
                                                                                                     5                   Alleged Transfers Were for the Benefit of Its Wholly Owned Subsidiary
                                                                                                     6           UOB provided the Debtor reasonably equivalent value in exchange for the Alleged
                                                                                                     7
                                                                                                         Transfers because the Alleged Transfers reduced the loan obligation of the Debtor’s wholly owned
                                                                                                     8
                                                                                                         subsidiary.
                                                                                                     9
                                                                                                                 If the consideration of a transfer is passed to a subsidiary of the debtor, there is a
                                                                                                    10
                                                                                                         presumption that the consideration benefits the debtor. See In re Darrow Auto. Grp., Inc.,
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                                                                                                    12   Bankruptcy No. 09-11228; Adversary No. 10-01078, 2011 WL 1321504, at *6-7 (S.D. Ga. Mar.

                                                                                                    13   29, 2011)2; Garrett v. Falkner (In re Royal Crown Bottlers of N. Alabama, Inc.), 23 B.R. 28, 30
                                                                                                    14
                                                                                                         (N.D. Ala. 1982) (stating that, although it is a general rule the consideration to a third party is not
                                                                                                    15
                                                                                                         reasonably equivalent value, “the passing to a subsidiary of the consideration for a transfer by a
                                                                                                    16
                                                                                                         debtor-parent may be presumed to be substantial, because the subsidiary corporation is an asset of
                                                                                                    17
                                                                                                         the parent corporation, and what benefits the asset will ordinarily accrue to the benefit of its
                                                                                                    18

                                                                                                    19   owner”); see e.g., United States v. Hundley, 02 CR 441 (LAP), 2013 WL 12384285, at *5 n.4

                                                                                                    20   (S.D.N.Y. Oct. 8, 2013) (noting that “where the question in a constructive fraudulent conveyance
                                                                                                    21   claim is whether a parent company in bankruptcy received reasonably equivalent value for
                                                                                                    22
                                                                                                         guaranteeing an obligation of its wholly-owned subsidiary, courts recognize that all of the benefits
                                                                                                    23
                                                                                                         received by the wholly-owned subsidiary as a result of the guarantee accrue to the parent
                                                                                                    24
                                                                                                         company.”).
                                                                                                    25

                                                                                                    26

                                                                                                    27   2
                                                                                                           The court in In re Darrow Auto. Grp., Inc. denied the Motion for Summary Judgment so that the trustee could
                                                                                                    28   conduct discovery because questions of fact remained concerning an insurance policy and the debtor’s corporate
                                                                                                         structure. 2011 WL 1321504, at *6-7. As UOB’s answer shows, no such lingering questions are present here.
                                                                                                                                                                                             MEMORANDUM IN SUPPORT
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                                                                                                     1          The record is indisputable. The Debtor’s wholly owned and controlled direct subsidiary
                                                                                                     2   borrowed $10,600,000 from UOB. The Alleged Transfers either directly (in the case of the
                                                                                                     3
                                                                                                         $600,000 transfer) or later (in the case of the $369,008.72 funding of the reserve account) satisfied
                                                                                                     4
                                                                                                         the antecedent debt of the wholly owned and controlled subsidiary of the Debtor. The Debtor
                                                                                                     5
                                                                                                         received reasonably equivalent value in exchange for the Alleged Transfers. For this reason, the
                                                                                                     6

                                                                                                     7   Trustee cannot sustain any claim for constructive fraudulent transfer under the California UFTA.

                                                                                                     8

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                                                                                                                                                                                   MEMORANDUM IN SUPPORT
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                                                                                                     1          WHEREFORE, UOB respectfully requests the Court: (a) enter judgment in favor of UOB,

                                                                                                     2   (b) deny Plaintiff any and all relief requested in the Complaint, dismissing with prejudice all claims

                                                                                                     3   asserted by Plaintiff in the Complaint against Defendant; and (c) grant UOB such further and
                                                                                                     4   additional relief as this Court deems just and equitable.
                                                                                                     5
                                                                                                          Dated: November 13, 2023                        SQUIRE PATTON BOGGS (US) LLP
                                                                                                     6

                                                                                                     7                                                    /s/ Karol K. Denniston
                                                                                                     8                                                    Karol K. Denniston (CA Bar # 141667)
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                                                                                                                                                                                    MEMORANDUM IN SUPPORT
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                                                                                                                                                                           CASE NO. 2:23-ap-01228-WB/CHAPTER 7
        Case 2:23-ap-01228-WB                      Doc 23 Filed 11/13/23 Entered 11/13/23 15:12:07                                      Desc
                                                   Main Document    Page 11 of 11



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
555 California Street, Suite 550
San Francisco, California 94104

A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
 Memorandum of Points and Authorities in Support of Defendant United Overseas Bank Limited's Motion for Judgment
________________________________________________________________________________________________
 on the Pleadings under Rule 12(c)
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
11/13/2023
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Leonard Pena, lpena@penalaw.com
  Carolyn A. Dye, Trustee, trustee@cadye.com
  United States Trustee, ustpregion16.la.ecf@usdoj.gov
  Peter R. Morrison, peter.morrison@squirepb.com
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  11/13/2023
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Julia W. Brand, United States Bankruptcy Court, 255 E. Temple Street, Suite 1382, Los Angeles, CA 90012 (via
Federal Express)


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/13/2023         Karol K. Denniston                                                          /s/ Karol K. Denniston
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
